              Case: 1:17-cv-04727 Document #: 1 Filed: 06/23/17 Page 1 of 5 PageID #:1
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        JUN   23 2017 or
                                     UNITED STATES DISTRICT COURT
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                                                             )

                     Plaintiff(s),
                                                                  1=17av-572,7
                             vs.                                 Judge John Robert BlakeY
                                                                 Mag-lstrate Judge tary t- Rowland
   T enru"tfta,t- L o        .rt      9t-ru   i   a)
   C ql,h'g             $ tYs>.,cit*" 9            ,



                     Defendant(s).




                  COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

   This form complaint is designed to help yoa, os o pro se plaintffi state your case in a clear
   manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
   may not apply to you. You may cross out paragraphs that do not apply to you. All references
   to "plaintiff' and "defendunt" are stated in the singular but will apply to more than one
   plaintiff or defendant if that is the nature of the case.

   l.         This is a claim for violation of plaintifFs civil rights as protected by the Constitution and

              laws of the United States under 42 U.S.C. $$ 1983, 1985, and 1986.

   2.         The court has jurisdiction under 28 U.S.C. $$ 1343 and 1367 .

   3.         praintirrs ruu name    ,,   ao7.trV OV"9.Lq
   Ifthere are additional plaintffi,lill in the above information as to theftrst-named         plaintiff
   and complete the informationfor each additional plaintiff on an extra sheet.
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4.     Defendant,      \v*yWu Loqr, %,.rt'rLrs    b CuJ\li8 p tsnci*+$"
                                        number if known)
                                                  (name, badge


       E    an officer or   official employed by
                                                                    (department or agency of government)




       E/anindividual not employed by a governmental entity.

If there are additional defendants, jill in the above inJormation as to theftrst-nomed
defendant and complete the informution for each additional defendant on an extra sheet.

5.     The municipality, township or county under whose authority defendant officer or official

       acted is                                                                                .   As to plaintifls federal

       constitutional claims, the municipality, township or county is a defendant only                           if
       custom or policy allegations are made atparagraph 7 below.

6.     On or about                                  , at approximately                                      n   a.m.   n   p.m.
                              (month,day, year)
       plaintiff was present in the municipality (or unincorporated area) of

                                                                   , in the County        of

       State of   lllinois,   at
                                       (identify location   as   precisely as possible)


       when defendant violated plaintiff s civil rights as follows (Place X in each box that
       applies):

       n          arrested or seizedplaintiff without probable cause to believe that plaintiff had
                 committed, was committing or was about to commit a crime;
       tr        searched plaintiff or his property without a warrant and without reasonable cause;
       n         used excessive force upon plaintiff;
       d
       /         failed to intervene to proteit plaintiff from violation of plaintiff s civil rights by
                 one or more other defendants;
      n          failed to provide plaintiff with needed medical care;
      F          conspired together to violate one or more of plaintiff s civil rights;
      tr         Other:
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7.      Defendant officer or official acted pursuant to a custom or policy of defendant

        municipality, county or township, which custom or policy is the following: (Leuve blank

        if no custom   or policy is alleged)z




8.      Plaintiff was charged with one or more crimes, specifically:




9.      (Pluce an X in the box that applies. If none applies, you may describe the criminal
        proceedings under "Other') The criminal proceedings

        tr   are still pending.

        tr   were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.r

        tr   Plaintiff was found guilty of one or more charges because defendant deprived me of            a


        fair trial as follows



        n Other:

        l
         Examples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.
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      10.   Plaintiff further alleges as follows: (Describe what happened thot yoa believe
      supports your claims. To the extent possible, be specffic as to your own actions and
      the actions of each defendant.)
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                      "




11.   Defendant acted knowingly, intentionally, willfully and maliciously.

t2.   As a result of defendant's conduct, plaintiff was injured as follows:

         ?+*,,',^1"-        o* cku^r4.n *; Jo*rr)                             r
       e ,y,A-w,.rs,,l J*rJ"*rs                                                    ', v)-t
                    re ,\*k)                              ercz, [q
                                           ""^)
       4,*             9].r"    hs, ,aLslrJ* u^)                   ,us4r.or. e{i             ,{',;o)
13.   Plaintiff asks that the case be tried by   a   jury. IE{es    tr No
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 14.    Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such

        as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

        and/or any other claim that may be supported by the allegations of this complaint.




        WHEREFORE, plaintiff           asks   for the following relief:

        A,       Damages to compensate for all bodily harm, emotional harm, pain and suffering,

                 loss of income, loss of enjoyment of life, property damage and any other injuries

                 inflicted by defendant;

        B.                   X in box tf you are seeking punitive damages.) Punitive damages
                 fl-(Place
                 against the individual defendant; and

        C.       Such injunctive, declaratory, or other relief as may be appropriate, including

 attorney's fees and reasonable ex              as authorized by 42 U.S.C. $ 1988.

        Plaintiff s signature:

        Plaintiff s name (print clearly o, typO,        A-o9vY\ ClLegtLn
        Plaintiff s mailing address:     t5+b1 I e*rLor^                        9i-+
         citv   |vufu lhll,.,r.)                             State       lL          ZTP     6"   +19
        Plaintiff   s telephone   number:   t}ryl     1lL *          'Jo 11

        Plaintiff s email address (if you prefer to be contacted by emaitl:)oltc            9DV O'lalur "tozr


15.    Plaintiff has previously filed   a case   in this district.   n   Yes
                                                                               F*"
       If yes, pleuse list the cases   below.


Any additional plaintffi must sign the complaint and provide              the sume information as the Jirst
plaintilf, An additional signature page may be added.
